Case 8:21-cv-01919-MSS-TGW Document 11 Filed 05/23/22 Page 1 of 1 PageID 60




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

CHRISTY STANLEY,

       Movant,
                                                         Case No. 8:21-cv-1919-MSS-TGW
v.
                                                    Crim. Case No. 8:20-cr-48-MSS-TGW
UNITED STATES OF AMERICA,

      Respondent.
_____________________________________/

                                         ORDER

       Stanley moves to vacate, set aside, or correct her sentence under 28 U.S.C. § 2255.

(Doc. 1) The United States responds and submits an affidavit by trial counsel which references

a psychological evaluation presented on behalf of Stanley at sentencing. (Doc. 5-1 at 6–7) The

psychological evaluation does not appear in the record and is relevant to Stanley’s claim that

trial counsel was ineffective for not presenting character witnesses at sentencing. (Doc. 1 at

4–8) Accordingly, no later than 14 DAYS from the date of this Order, the United States must

file under seal the psychological evaluation. No later than 30 DAYS after the United States

supplements the record, Stanley may reply.

       DONE AND ORDERED in Tampa, Florida on May 23, 2022.
